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3 Rolling Hills Estates, CA 90274

4 Tel.: (213) 915-7316

5 Attorneys for Plaintiff Lincoln Transportation
     Services, Inc..
6

7

8                         UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10

11
       LINCOLN      TRANSPORTATION             NO.
12     SERVICES, INC.,    a California
       Corporation,
13                                             COMPLAINT:
                           Plaintiff,
14                                             (1) Breach of Contract;
                 v.
15                                             (2) Open Book Account;
       HAPAG-LLOYD (America) LLC, a            (3) Quantum Meruit
16     Delaware Limited Liability Company
       Whose Members are Citizens of New
17     Jersey, Georgia, Florida, Illinois;
       and Texas; HAPAG-LLOYD
18     CONTAINER LINE GMBH, a
       German Corporation,
19
                           Defendants.
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28
     COMPLAINT                                                                PAGE 1
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2           Lincoln Transportation Services, Inc. (“Lincoln”) alleges as
5    follows:
6           1.     Lincoln is a California corporation with its principal place of
7    business in Compton, California.
8           2.     Hapag-Lloyd (America) LLC is a Limited Liability Company
9    organized under the laws of the state of Delaware with its principal place
10   of business in New Jersey. Its members are citizens of the following
11   states: (1) New Jersey; (2) Georgia; (3) Florida; (4) Illinois; and (5) Texas.
12   Hapag-Lloyd (America) LLC is the successor to Hapag-Lloyd (America),
13   Inc.
14          3.     Hapag-Lloyd Container Line GMBH is a foreign corporation
15   organized under the laws of Germany.
16          4.     Under the terms of the parties’ agreement and the applicable
17   bills of lading, Hapag-Lloyd (America) LLC and Hapag-Lloyd Container
18   Line GMBH are jointly and severally liable for the amounts owed to
19   Lincoln. Plaintiff, therefore, refers to these defendants collectively as
20   “Hapag.”
21

22               SUBJECT MATTER JURISDICTION AND VENUE
23

24          5.     Jurisdiction is proper under 28 U.S.C. §1332(2) because the
25   parties are citizens of different states and the amount in controversy
26   exceeds $75,000, exclusive of costs and interest. (The amount in
27   controversy is, in fact, about $800,000.00 not including attorneys’ fees,
28

     COMPLAINT                                                                PAGE 2
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1    costs and interest.)
2          6.     Venue is proper because a substantial part, if not all, of the acts
3    or omissions giving rise to the claims occurred in this judicial district.
2    Lincoln is located in this judicial district, was hired by Hapag in this
5    judicial district, and picked-up and transported international freight from
6    the Ports of Los Angeles and Long Beach – both located in this judicial
7    district.
8

9                           FIRST CLAIM FOR RELIEF
10                      (Breach of Contract against Hapag)
11

12         7.     Plaintiff incorporates paragraphs 1-6 as if fully set forth
13   herein.
14         8.     The parties entered into a written agreement under which they
15   agreed to the following: (1) Lincoln would perform drayage services for
16   defendants, i.e., pick-up, at Hapag’s request, containers of freight shipped
17   in international commerce and off-loaded from container ships at the ports
18   of Los Angeles and Long Beach; (2) deliver the containers to points in-
19   land to defendant and its customers based on defendants’ express request;
20   and (3) Hapag would pay Lincoln amounts agreed upon in the written
21   agreement.
22         9.     Plaintiff fully performed all services required under the
23   agreement and all conditions-precedent to obtaining payment under the
24   parties’ agreement.
25         10. Plaintiff has invoiced Hapag for services rendered under the
26   agreements and, as of the date of the filing of this action, $810,750.77 is
27   due and owing. [Attached as Exhibit “A” is a true and correct copy of the
28

     COMPLAINT                                                                 PAGE 3
      Case 2:19-cv-02314 Document 2 Filed 03/27/19 Page 4 of 18 Page ID #:7



1    statement of account owed by defendant to Plaintiff.]
2          11. Plaintiff has made numerous demands for payment and
3    defendant has refused to pay Plaintiff.
2          12. Plaintiff has suffered damages as a direct and legal result of
5    Defendant’s breaches in the amount of at least $810.750.77.
6          13. Plaintiff is entitled to an award of attorneys’ fees under the
7    “prevailing party” fee provisions of the parties’ agreement.
8

9                       SECOND CLAIM FOR RELIEF
10                      (Quantum Meruit against Hapag)
11         14. Plaintiff incorporates paragraphs 1-6 as if fully set forth
12   herein.
13         15. Hapag requested and Plaintiff provided drayage and other
14   transportation services to defendant.
15         16. Hapag accepted the work and services performed for its
16   benefit with the understanding and reasonable expectation that Plaintiff
17   would be compensated for the services rendered. In fact, over the years, a
18   custom and practice existed between the parties in which defendants
19   would request plaintiff’s services, plaintiff would provide those services,
20   and Hapag would pay for them.
21         17. Plaintiff is entitled to payment for work and services rendered
22   under the principles of quantum meruit and to prevent defendants’ unjust
23   enrichment.
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     COMPLAINT                                                                PAGE 4
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1                         THIRD CLAIM FOR RELIEF
2                              (Open Book Account)
3

2          18. Plaintiff incorporates paragraphs 1-6 as if fully set forth
5    herein.
6          19. Plaintiff has submitted to Hapag invoices for work and
7    services rendered to defendant for drayage and other transportation and
8    storage services.
9          20.   Hapag has not protested or objected to the invoices or
10   otherwise disputed their validity.
11         21. Hapag is indebted to Plaintiff on the open book account in
12   the amount of $810,750.77. [Attached as Exhibit “A.” is a true and correct
13   copy of the account upon which this claim is based.]
14         22. Plaintiff is entitled to interest
15         PLAINTIFF PRAYS for judgment against all defendants as
16   follows:
17         1.    Damages in the amount of at least $810.750.77;
18         2.    Attorneys’ fees as the prevailing party under the terms of the
19         parties’ agreement and any other applicable law;
20         3     Cost of Suit; and
21         4.    For such other and further relief as the Court may deem just
22   and proper.
23   Dated: March 26, 2019                    Mastroianni Law Firm
24

25

26                                            By: /s/ A. Douglas Mastroianni
27                                                A. Douglas Mastroianni
28
                                                  Attorneys for Plaintiff
     COMPLAINT                                                                PAGE 5
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              EXH A
            Case 2:19-cv-02314 Document 2 Filed 03/27/19 Page 7 of 18 Page ID #:10
PAGE:   1               LINCOLN TRANSPORTATION SERVICES
                        250 W. MANVILLE ST., COMPTON, CA 90220
                         TEL:(310)609-1104 FAX:(310)609-1190

                                    S T A T E M E N T                                03/25/19
                                  CLOSING DATE: 03/25/19

                             FOR: HAPAG LLOYD (AMERICA)INC.
 REFERENCE NO.     INV NO   INV DATE   DUE DATE   INV AMT    BALANCE   OVER DUE   DAY
===============   =======   ========   ======== ========== ========== ========== =====
HLBU1192849       382040    03/24/17   04/23/17     488.00     488.00     488.00   701
HLBU1203774       382688    03/28/17   04/27/17     488.00     488.00     488.00   697
AMFU8566997       382689    03/28/17   04/27/17     488.00     488.00     488.00   697
DRYU9062958       382690    03/28/17   04/27/17     488.00     488.00     488.00   697
INKU6268380       382691    03/28/17   04/27/17     488.00     488.00     488.00   697
TTNU5055940       394628    05/30/17   06/29/17     814.70     814.70     814.70   634
TCNU7110983       7141909   08/13/18   09/12/18    1699.40    1699.40    1699.40   194
TEMU1383830       7142435   08/14/18   09/13/18    1455.00    1455.00    1455.00   193
HAMU1036574       7142686   08/15/18   09/14/18    1799.40    1799.40    1799.40   192
FCIU4593820       7142687   08/15/18   09/14/18    1799.40    1799.40    1799.40   192
FCIU2187668       7142688   08/15/18   09/14/18    1799.40    1799.40    1799.40   192
HLBU1505199       7142689   08/15/18   09/14/18    1799.40    1799.40    1799.40   192
FCIU4685931       7142690   08/15/18   09/14/18    1799.40    1799.40    1799.40   192
CRXU3401598       7142691   08/15/18   09/14/18    1799.40    1799.40    1799.40   192
BSIU2056285       7142692   08/15/18   09/14/18    1799.40    1799.40    1799.40   192
BSIU2184347       7142693   08/15/18   09/14/18    1799.40    1799.40    1799.40   192
HAMU1057495       7142694   08/15/18   09/14/18    1799.40    1799.40    1799.40   192
BMOU2727984       7142695   08/15/18   09/14/18    1799.40    1799.40    1799.40   192
CAIU6044923       7142696   08/15/18   09/14/18    1799.40    1799.40    1799.40   192
GLDU5637008       7142697   08/15/18   09/14/18    1799.40    1799.40    1799.40   192
CLHU2908555       7142698   08/15/18   09/14/18    1799.40    1799.40    1799.40   192
HLXU3187828       7143092   08/17/18   09/16/18    2291.40    2291.40    2291.40   190
HLXU8112101       7145879   08/31/18   09/30/18    1723.60    1723.60    1723.60   176
TCNU9469545       7145962   08/31/18   09/30/18    2166.40    2166.40    2166.40   176
UACU5490994       7145964   08/31/18   09/30/18    1699.40    1699.40    1699.40   176
FSCU9300179       7146130   09/04/18   10/04/18    1674.40    1674.40    1674.40   172
TRLU7042371       7146986   09/06/18   10/06/18     246.00     246.00     246.00   170
UACU5490994       7146988   09/06/18   10/06/18     246.00     246.00     246.00   170
HLXU6519551       7147207   09/07/18   10/07/18    1979.40     280.00     280.00   169
TGHU1214149       7149483   09/19/18   11/03/18     874.50     874.50     874.50   142
UACU5962339       7149484   09/19/18   11/03/18    1341.90    1341.90    1341.90   142
UACU5530090       7149485   09/19/18   11/03/18     874.50     874.50     874.50   142
UETU5435538       7149486   09/19/18   11/03/18    1699.40    1699.40    1699.40   142
FSCU9416071       7149487   09/19/18   11/03/18    1069.50    1069.50    1069.50   142
UACU3975872       7149758   09/19/18   11/03/18     874.50     874.50     874.50   142
UACU5632229       7149772   09/19/18   11/03/18    1256.60    1256.60    1256.60   142
XINU8118259       7149773   09/19/18   11/03/18    1256.60    1256.60    1256.60   142
UACU8393690       7149792   09/19/18   11/03/18    1069.50    1069.50    1069.50   142
TEMU7300448       7149825   09/19/18   11/03/18    1649.40    1649.40    1649.40   142
HLXU8205478       7149826   09/19/18   11/03/18    1735.50    1735.50    1735.50   142
UETU5435538       7149827   09/19/18   11/03/18    1735.50    1735.50    1735.50   142
HLBU1966251       7149859   09/20/18   11/04/18    1649.40    1649.40    1649.40   141
UACU8614379       7149860   09/20/18   11/04/18     874.50     874.50     874.50   141
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PAGE:   2               LINCOLN TRANSPORTATION SERVICES
                        250 W. MANVILLE ST., COMPTON, CA 90220
                         TEL:(310)609-1104 FAX:(310)609-1190

                                    S T A T E M E N T                                03/25/19
                                  CLOSING DATE: 03/25/19

                             FOR: HAPAG LLOYD (AMERICA)INC.
 REFERENCE NO.     INV NO   INV DATE   DUE DATE   INV AMT    BALANCE   OVER DUE   DAY
===============   =======   ========   ======== ========== ========== ========== =====
HLXU8252335       7149861   09/20/18   11/04/18    1649.40    1649.40    1649.40   141
UACU3975872       7149865   09/20/18   11/04/18    2314.40    2314.40    2314.40   141
HLXU8393626       7150004   09/20/18   11/04/18    1170.50    1170.50    1170.50   141
HLXU3752770       7150115   09/21/18   11/05/18    1649.40    1649.40    1649.40   140
TTNU4897179       7150116   09/21/18   11/05/18    1945.40    1945.40    1945.40   140
TCLU1178192       7150117   09/21/18   11/05/18    1893.60    1893.60    1893.60   140
TTNU4941440       7150118   09/21/18   11/05/18    1069.50    1069.50    1069.50   140
INKU6445551       7150119   09/21/18   11/05/18    1698.60    1698.60    1698.60   140
TGHU6174497       7150201   09/21/18   11/05/18    3113.90    3113.90    3113.90   140
TCLU5997085       7150202   09/21/18   11/05/18    2191.40    2191.40    2191.40   140
TGHU8224323       7151158   09/26/18   11/10/18    1699.40    1699.40    1699.40   135
HLXU8600488       7152668   10/04/18   11/18/18     924.50     924.50     924.50   127
HLXU8182454       7153948   10/11/18   11/25/18    1045.00    1045.00    1045.00   120
HLXU3142799       7155060   10/17/18   12/01/18     300.00     300.00     300.00   114
BHCU4928320       7155314   10/17/18   12/01/18    1596.80    1596.80    1596.80   114
GESU5561755       7155315   10/17/18   12/01/18    1971.05    1971.05    1971.05   114
CAXU8046613       7155316   10/17/18   12/01/18    6112.75    6112.75    6112.75   114
TGHU8065176       7155317   10/17/18   12/01/18    5364.25    5364.25    5364.25   114
TGHU5157617       7155318   10/17/18   12/01/18    3817.35    3817.35    3817.35   114
GESU4646987       7155319   10/17/18   12/01/18    3093.80    3093.80    3093.80   114
GLDU9368355       7155320   10/17/18   12/01/18    5713.55    5713.55    5713.55   114
TCLU5433465       7155321   10/17/18   12/01/18    2420.15    2420.15    2420.15   114
HAMU1145805       7155322   10/17/18   12/01/18    2594.80    2594.80    2594.80   114
UACU8613747       7155324   10/17/18   12/01/18    1546.90    1546.90    1546.90   114
BMOU5621656       7155326   10/17/18   12/01/18    2969.05    2969.05    2969.05   114
HLXU5367726       7155327   10/17/18   12/01/18    2395.20    2395.20    2395.20   114
UACU5993263       7155328   10/17/18   12/01/18    4016.95    4016.95    4016.95   114
CAIU8357850       7155329   10/17/18   12/01/18    3118.75    3118.75    3118.75   114
HLBU1144368       7155330   10/17/18   12/01/18    5863.25    5863.25    5863.25   114
AMFU8724578       7155331   10/17/18   12/01/18    2420.15    2420.15    2420.15   114
FCIU7344815       7155332   10/17/18   12/01/18    3318.35    3318.35    3318.35   114
UACU8307705       7155334   10/17/18   12/01/18    8797.05    8797.05    8797.05   114
HLXU6504377       7155336   10/17/18   12/01/18    2646.90    2646.90    2646.90   114
FDCU0177320       7155337   10/17/18   12/01/18    3295.65    3295.65    3295.65   114
FDCU0146187       7155339   10/17/18   12/01/18    6020.40    6020.40    6020.40   114
CPSU6451642       7155341   10/17/18   12/01/18    1375.35    1375.35    1375.35   114
FSCU9839915       7155344   10/17/18   12/01/18    3503.25    3503.25    3503.25   114
TCLU9550372       7155345   10/17/18   12/01/18    9783.15    9783.15    9783.15   114
HAMU1294218       7155346   10/17/18   12/01/18    3581.10    3581.10    3581.10   114
HLXU8584751       7155347   10/17/18   12/01/18    3295.65    3295.65    3295.65   114
CAIU8049082       7155348   10/17/18   12/01/18    3321.60    3321.60    3321.60   114
IKSU8665186       7155382   10/17/18   12/01/18    2439.30    2439.30    2439.30   114
HLXU6241985       7155383   10/17/18   12/01/18     389.25     389.25     389.25   114
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PAGE:   3               LINCOLN TRANSPORTATION SERVICES
                        250 W. MANVILLE ST., COMPTON, CA 90220
                         TEL:(310)609-1104 FAX:(310)609-1190

                                    S T A T E M E N T                                03/25/19
                                  CLOSING DATE: 03/25/19

                             FOR: HAPAG LLOYD (AMERICA)INC.
 REFERENCE NO.     INV NO   INV DATE   DUE DATE   INV AMT    BALANCE   OVER DUE   DAY
===============   =======   ========   ======== ========== ========== ========== =====
GESU6421491       7155384   10/17/18   12/01/18    2543.10    2543.10    2543.10   114
UACU5738714       7155385   10/17/18   12/01/18     233.55     233.55     233.55   114
UACU5519547       7155386   10/17/18   12/01/18      77.85      77.85      77.85   114
BMOU5250848       7155387   10/17/18   12/01/18     804.45     804.45     804.45   114
HLBU1999255       7156449   10/23/18   12/07/18    1170.50    1170.50    1170.50   108
FCIU2582106       7156598   10/24/18   12/08/18    1948.60    1948.60    1948.60   107
UACU5312523       7158212   10/31/18   12/15/18    2264.40    2264.40    2264.40   100
FSCU4537614       7159592   11/06/18   12/06/18     233.55     233.55     233.55   109
HLXU5297167       7159593   11/06/18   12/21/18     129.75     129.75     129.75    94
UACU5929623       7159594   11/06/18   12/06/18     129.75     129.75     129.75   109
CLHU4638778       7159595   11/06/18   12/21/18     155.70     155.70     155.70    94
HLBU1129975       7159596   11/06/18   12/21/18     207.60     207.60     207.60    94
TRLU8607960       7159597   11/06/18   12/06/18     207.60     207.60     207.60   109
TCLU4462577       7159598   11/06/18   12/21/18     207.60     207.60     207.60    94
UACU8503190       7159599   11/06/18   12/21/18     155.70     155.70     155.70    94
GVCU4042969       7159600   11/06/18   12/21/18     181.65     181.65     181.65    94
TCNU5062356       7159605   11/06/18   12/21/18     311.40     311.40     311.40    94
HLBU1806211       7159606   11/06/18   12/21/18     337.35     337.35     337.35    94
FSCU9248213       7159607   11/06/18   12/21/18     285.45     285.45     285.45    94
TCKU6565010       7159608   11/06/18   12/21/18     337.35     337.35     337.35    94
TLLU5290470       7159609   11/06/18   12/21/18     233.55     233.55     233.55    94
TCKU6458455       7159610   11/06/18   12/21/18     337.35     337.35     337.35    94
TRLU6904661       7159611   11/06/18   12/21/18     337.35     337.35     337.35    94
UACU3933080       7159612   11/06/18   12/21/18     129.75     129.75     129.75    94
TGBU2622164       7159613   11/06/18   12/21/18     363.30     363.30     363.30    94
HLXU6545191       7160050   11/08/18   12/23/18    1822.40    1822.40    1822.40    92
HLBU1509996       7160054   11/08/18   12/23/18    1994.00    1994.00    1994.00    92
BMOU3075392       7160063   11/08/18   12/23/18    1906.80    1906.80    1906.80    92
TGCU2094986       7160068   11/08/18   12/23/18    1812.20    1812.20    1812.20    92
TGCU2094965       7160069   11/08/18   12/23/18    1812.20    1812.20    1812.20    92
BEAU4928767       7160406   11/08/18   12/23/18    1170.50    1170.50    1170.50    92
DRYU9751197       7160408   11/08/18   12/23/18    1712.20    1712.20    1712.20    92
HAMU1223404       7160409   11/08/18   12/23/18    1170.50    1170.50    1170.50    92
HLBU1356860       7160410   11/08/18   12/23/18    1170.50    1170.50    1170.50    92
TCKU6045301       7160411   11/08/18   12/23/18    1256.60    1256.60    1256.60    92
CAIU8487849       7160412   11/08/18   12/23/18    1256.60    1256.60    1256.60    92
HLBU1614667       7160413   11/08/18   12/23/18    1960.20    1960.20    1960.20    92
FDCU0138685       7160418   11/08/18   12/23/18    1340.20    1340.20    1340.20    92
HLXU8344982       7160419   11/08/18   12/23/18    1265.80    1265.80    1265.80    92
HLXU8562768       7160432   11/08/18   12/23/18    1945.40    1945.40    1945.40    92
TGHU9809708       7160433   11/08/18   12/23/18    2357.90    2357.90    2357.90    92
UACU5461255       7160434   11/08/18   12/23/18    2282.90    2282.90    2282.90    92
HLBU9028940       7160675   11/09/18   12/24/18    1712.20    1712.20    1712.20    91
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PAGE:   4                LINCOLN TRANSPORTATION SERVICES
                         250 W. MANVILLE ST., COMPTON, CA 90220
                          TEL:(310)609-1104 FAX:(310)609-1190

                                    S T A T E M E N T                                 03/25/19
                                  CLOSING DATE: 03/25/19

                              FOR: HAPAG LLOYD (AMERICA)INC.
 REFERENCE NO.      INV NO   INV DATE   DUE DATE   INV AMT    BALANCE   OVER DUE   DAY
===============    =======   ========   ======== ========== ========== ========== =====
HLBU9267559        7160676   11/09/18   12/24/18    1906.80    1906.80    1906.80    91
TCLU4413090        7160679   11/09/18   12/24/18     940.52     940.52     940.52    91
TCLU8980466        7160680   11/09/18   12/24/18    1588.20    1588.20    1588.20    91
UACU4056936        7160792   11/09/18   12/24/18    1712.20    1712.20    1712.20    91
UACU5172761        7160796   11/09/18   12/24/18     881.00     881.00     881.00    91
TCKU2934281        7160798   11/09/18   12/24/18    1712.20    1712.20    1712.20    91
TEMU1847715        7160803   11/09/18   12/24/18    1279.00    1279.00    1279.00    91
FCIU6321950        7160806   11/09/18   12/24/18    1279.00    1279.00    1279.00    91
XINU1139141        7160827   11/09/18   12/24/18    1179.00    1179.00    1179.00    91
HLBU1182100        7160828   11/09/18   12/24/18    1960.20    1960.20    1960.20    91
HLBU1339077        7160829   11/09/18   12/24/18    1256.60    1256.60    1256.60    91
GESU2843821        7160830   11/09/18   12/24/18    1430.40    1430.40    1430.40    91
FCIU3862349        7160831   11/09/18   12/24/18    2432.20    2432.20    2432.20    91
XINU1416713        7160832   11/09/18   12/24/18    1812.20    1812.20    1812.20    91
TEMU1856609        7160833   11/09/18   12/24/18    1812.20    1812.20    1812.20    91
BMOU3086988        7160859   11/09/18   12/24/18    1179.00    1179.00    1179.00    91
HLBU1257390        7160861   11/09/18   12/24/18    1179.00    1179.00    1179.00    91
TTNU5350627        7160862   11/09/18   12/24/18    1256.60    1256.60    1256.60    91
TCLU4126000        7160863   11/09/18   12/24/18    2332.20    2332.20    2332.20    91
HLBU1534279        7160864   11/09/18   12/24/18    1699.40    1699.40    1699.40    91
UACU8285247        7160865   11/09/18   12/24/18    1699.40    1699.40    1699.40    91
UACU8347610        7160867   11/09/18   12/24/18    1179.00    1179.00    1179.00    91
FSCU4494765        7160870   11/09/18   12/24/18    1960.20    1960.20    1960.20    91
HLXU5182810        7160871   11/09/18   12/24/18    1179.00    1179.00    1179.00    91
UACU8217129        7160872   11/09/18   12/24/18    1960.20    1960.20    1960.20    91
TRLU4884479        7160873   11/09/18   12/24/18    2332.20    2332.20    2332.20    91
HLBU9126123        7160905   11/12/18   12/27/18    1906.80    1906.80    1906.80    88
TCNU7974492        7160906   11/12/18   12/27/18     881.00     881.00     881.00    88
DRYU9150452        7161043   11/12/18   12/27/18    1170.50    1170.50    1170.50    88
GSTU8719315        7161044   11/12/18   12/27/18    1179.00    1179.00    1179.00    88
BMOU9202180        7161331   11/13/18   12/28/18    1906.80    1906.80    1906.80    87
CPSU4069815        7161703   11/14/18   12/29/18     881.00     881.00     881.00    86
HLXU8249120        7161704   11/14/18   12/29/18    1588.20    1588.20    1588.20    86
BMOU4788443        7161705   11/14/18   12/29/18    1588.20    1588.20    1588.20    86
HLXU6523989        7161706   11/14/18   12/29/18    1588.20    1588.20    1588.20    86
UACU6037370        7161707   11/14/18   12/29/18    1588.20    1588.20    1588.20    86
CLHU3821418        7161876   11/14/18   12/29/18    2308.20    2308.20    2308.20    86
HLBU1515772        7161877   11/14/18   12/29/18    2308.20    2308.20    2308.20    86
FCIU2167384        7162046   11/15/18   12/30/18    2233.80    2233.80    2233.80    85
HLXU1159745        7162047   11/15/18   12/30/18    2233.80    2233.80    2233.80    85
TCKU1524430        7162048   11/15/18   12/30/18    2233.80    2233.80    2233.80    85
UACU4015686        7162049   11/15/18   12/30/18    2233.80    2233.80    2233.80    85
HLXU3482248        7162050   11/15/18   12/30/18    1761.80    1761.80    1761.80    85
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PAGE:   5                LINCOLN TRANSPORTATION SERVICES
                         250 W. MANVILLE ST., COMPTON, CA 90220
                          TEL:(310)609-1104 FAX:(310)609-1190

                                    S T A T E M E N T                                 03/25/19
                                  CLOSING DATE: 03/25/19

                              FOR: HAPAG LLOYD (AMERICA)INC.
 REFERENCE NO.      INV NO   INV DATE   DUE DATE   INV AMT    BALANCE   OVER DUE   DAY
===============    =======   ========   ======== ========== ========== ========== =====
UACU3797235        7162051   11/15/18   12/30/18    2060.20    2060.20    2060.20    85
CPSU1727086        7162052   11/15/18   12/30/18    1712.20    1712.20    1712.20    85
HJMU8456216        7162053   11/15/18   12/30/18    1712.20    1712.20    1712.20    85
GESU3864881        7162054   11/15/18   12/30/18    1712.20    1712.20    1712.20    85
HLXU5136250        7162055   11/15/18   12/30/18    1908.50    1908.50    1908.50    85
TCLU4486368        7162056   11/15/18   12/30/18    1908.50    1908.50    1908.50    85
TRLU9454594        7162057   11/15/18   12/30/18    2277.50    2277.50    2277.50    85
FSCU7240893        7162058   11/15/18   12/30/18    1817.20    1817.20    1817.20    85
HAMU1150490        7162059   11/15/18   12/30/18    2062.20    2062.20    2062.20    85
FCIU8074231        7162061   11/15/18   12/30/18    1459.80    1459.80    1459.80    85
FCIU2160013        7162063   11/15/18   12/30/18    1761.80    1761.80    1761.80    85
HLBU1104386        7162064   11/15/18   12/30/18    1994.00    1994.00    1994.00    85
BEAU4928767        7162065   11/15/18   12/30/18     881.00     881.00     881.00    85
GESU5603104        7162066   11/15/18   12/30/18     881.00     881.00     881.00    85
TCLU1092946        7162067   11/15/18   12/30/18    1711.80    1711.80    1711.80    85
HLBU9070955        7162068   11/15/18   12/30/18    1662.20    1662.20    1662.20    85
TCNU8214616        7162427   11/16/18   12/31/18    1761.80    1761.80    1761.80    84
UACU3787617        7162428   11/16/18   12/31/18    1737.00    1737.00    1737.00    84
UACU3479851        7162429   11/16/18   12/31/18    1712.20    1712.20    1712.20    84
GESU3909899        7162430   11/16/18   12/31/18    1712.20    1712.20    1712.20    84
HLBU1824690        7162431   11/16/18   12/31/18    1712.20    1712.20    1712.20    84
IPXU3901506        7162432   11/16/18   12/31/18    1712.20    1712.20    1712.20    84
GESU5638184        7162509   11/16/18   12/31/18    1761.80    1761.80    1761.80    84
TGHU9809708        7162510   11/16/18   12/31/18     881.00     881.00     881.00    84
HAMU1223404        7162531   11/16/18   12/31/18     881.00     881.00     881.00    84
TCLU2823599        7162655   11/19/18   01/03/19    1712.20    1712.20    1712.20    81
HLXU6374782        7162656   11/19/18   01/03/19    1712.20    1712.20    1712.20    81
UACU4108990        7162657   11/19/18   01/03/19    1712.20    1712.20    1712.20    81
HLXU8562768        7162658   11/19/18   01/03/19     881.00     881.00     881.00    81
TRLU9162822        7162659   11/19/18   01/03/19    1761.80    1761.80    1761.80    81
HLXU1400240        7162660   11/19/18   01/03/19    2280.20    2280.20    2280.20    81
HLXU8721936        7162661   11/19/18   01/03/19    1711.80    1711.80    1711.80    81
HLBU1356860        7162863   11/19/18   01/03/19     881.00     881.00     881.00    81
HLXU5086225        7162963   11/20/18   01/04/19    1131.00    1131.00    1131.00    80
DRYU9150452        7162964   11/20/18   01/04/19     881.00     881.00     881.00    80
CAIU8487849        7162965   11/20/18   01/04/19     881.00     881.00     881.00    80
GESU5638184        7162966   11/20/18   01/04/19     881.00     881.00     881.00    80
UACU8404623        7163037   11/20/18   01/04/19     881.00     881.00     881.00    80
CPSU1744890        7163038   11/20/18   01/04/19    1812.20    1812.20    1812.20    80
FBIU0097769        7163039   11/20/18   01/04/19    1712.20    1712.20    1712.20    80
BMOU2271220        7163041   11/20/18   01/04/19    1812.20    1812.20    1812.20    80
TCKU6045301        7163441   11/21/18   01/05/19     881.00     881.00     881.00    79
TCLU4486368        7163442   11/21/18   01/05/19    1076.00    1076.00    1076.00    79
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PAGE:   6                LINCOLN TRANSPORTATION SERVICES
                         250 W. MANVILLE ST., COMPTON, CA 90220
                          TEL:(310)609-1104 FAX:(310)609-1190

                                    S T A T E M E N T                                 03/25/19
                                  CLOSING DATE: 03/25/19

                              FOR: HAPAG LLOYD (AMERICA)INC.
 REFERENCE NO.      INV NO   INV DATE   DUE DATE   INV AMT    BALANCE   OVER DUE   DAY
===============    =======   ========   ======== ========== ========== ========== =====
HLBU1614667        7163443   11/21/18   01/05/19     881.00     881.00     881.00    79
HLXU6650704        7163747   11/21/18   01/05/19    1761.80    1761.80    1761.80    79
TCLU7162911        7163748   11/21/18   01/05/19    1761.80    1761.80    1761.80    79
TCNU1812745        7163762   11/21/18   01/05/19     881.00     881.00     881.00    79
CNXU8455270        7163802   11/21/18   01/05/19    1662.20    1662.20    1662.20    79
FSCU6359379        7164414   11/29/18   01/13/19      60.00      60.00      60.00    71
HLBU1527390        7166143   12/06/18   01/20/19    1076.00    1076.00    1076.00    64
HLXU8805240        7166144   12/06/18   01/20/19    1906.80    1906.80    1906.80    64
BMOU3086988        7166145   12/06/18   01/20/19    1076.00    1076.00    1076.00    64
TGCU2099709        7166146   12/06/18   01/20/19    1712.20    1712.20    1712.20    64
UACU5939534        7166147   12/06/18   01/20/19    1616.50    1616.50    1616.50    64
XINU1139141        7166149   12/07/18   01/21/19     881.00     881.00     881.00    63
UACU5162640        7166150   12/07/18   01/21/19     881.00     881.00     881.00    63
TTNU5350627        7166151   12/07/18   01/21/19     940.52     940.52     940.52    63
TRLU9452863        7166152   12/07/18   01/21/19    1783.20    1783.20    1783.20    63
HLXU5392626        7166153   12/07/18   01/21/19    1783.20    1783.20    1783.20    63
UACU8563116        7166154   12/07/18   01/21/19    1783.20    1783.20    1783.20    63
HLBU1344427        7166155   12/07/18   01/21/19    2332.20    2332.20    2332.20    63
HLBU8077981        7166156   12/07/18   01/21/19    1712.20    1712.20    1712.20    63
UACU5101198        7166157   12/07/18   01/21/19     940.52     940.52     940.52    63
TGHU2927294        7166158   12/07/18   01/21/19    1761.80    1761.80    1761.80    63
FSCU7606149        7166159   12/07/18   01/21/19    2060.20    2060.20    2060.20    63
GSTU8719315        7166160   12/07/18   01/21/19     881.00     881.00     881.00    63
UACU8280754        7166161   12/07/18   01/21/19    1076.00    1076.00    1076.00    63
HLBU1339077        7166162   12/07/18   01/21/19     881.00     881.00     881.00    63
CAIU8086297        7166163   12/07/18   01/21/19     881.00     881.00     881.00    63
TCLU9553520        7166164   12/07/18   01/21/19     881.00     881.00     881.00    63
HLXU8208163        7166165   12/07/18   01/21/19     881.00     881.00     881.00    63
HLXU5136250        7166166   12/07/18   01/21/19     881.00     881.00     881.00    63
TLLU5945433        7166167   12/07/18   01/21/19    1960.20    1960.20    1960.20    63
TEMU4861701        7166168   12/07/18   01/21/19    1712.20    1712.20    1712.20    63
TCKU3712720        7166169   12/07/18   01/21/19    1712.20    1712.20    1712.20    63
UACU8217129        7166170   12/07/18   01/21/19     881.00     881.00     881.00    63
HLXU5655527        7166171   12/07/18   01/21/19    1799.00    1799.00    1799.00    63
UACU5049340        7166173   12/07/18   01/21/19     881.00     881.00     881.00    63
HLXU6480640        7166174   12/07/18   01/21/19    1712.20    1712.20    1712.20    63
BEAU4997011        7166175   12/07/18   01/21/19    1712.20    1712.20    1712.20    63
TGHU9624670        7166176   12/07/18   01/21/19    1712.20    1712.20    1712.20    63
BEAU4935302        7166177   12/07/18   01/21/19    1712.20    1712.20    1712.20    63
SEGU5711973        7166178   12/07/18   01/21/19    1712.20    1712.20    1712.20    63
GLDU9977789        7166179   12/07/18   01/21/19    1712.20    1712.20    1712.20    63
HLXU1405263        7166180   12/07/18   01/21/19    2332.20    2332.20    2332.20    63
GESU6415210        7166181   12/07/18   01/21/19     881.00     881.00     881.00    63
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PAGE:   7                LINCOLN TRANSPORTATION SERVICES
                         250 W. MANVILLE ST., COMPTON, CA 90220
                          TEL:(310)609-1104 FAX:(310)609-1190

                                    S T A T E M E N T                                 03/25/19
                                  CLOSING DATE: 03/25/19

                              FOR: HAPAG LLOYD (AMERICA)INC.
 REFERENCE NO.      INV NO   INV DATE   DUE DATE   INV AMT    BALANCE   OVER DUE   DAY
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TCNU8229051        7166182   12/07/18   01/21/19    1960.20    1960.20    1960.20    63
HLXU5182810        7166187   12/07/18   01/21/19     881.00     881.00     881.00    63
FSCU4494765        7166188   12/07/18   01/21/19     881.00     881.00     881.00    63
HLBU1817535        7166189   12/07/18   01/21/19     881.00     881.00     881.00    63
TGCU2094693        7166193   12/07/18   01/21/19    1712.20    1712.20    1712.20    63
TRLU8799647        7166194   12/07/18   01/21/19    1170.50    1170.50    1170.50    63
TCNU7547042        7166195   12/07/18   01/21/19     881.00     881.00     881.00    63
HLXU8428949        7166344   12/07/18   01/21/19    2332.20    2332.20    2332.20    63
HLBU1817535        7166345   12/07/18   01/21/19    2332.20    2332.20    2332.20    63
HLXU6542490        7166346   12/07/18   01/21/19    2332.20    2332.20    2332.20    63
QIBU1243531        7166529   12/07/18   01/21/19    1699.40    1699.40    1699.40    63
SEGU5624009        7166530   12/07/18   01/21/19    1265.80    1265.80    1265.80    63
TCLU8658038        7166531   12/07/18   01/21/19    1265.80    1265.80    1265.80    63
CXDU1040251        7166537   12/10/18   01/24/19     881.00     881.00     881.00    60
TGBU6913419        7166538   12/10/18   01/24/19     940.52     940.52     940.52    60
TCNU8229051        7166539   12/10/18   01/24/19     881.00     881.00     881.00    60
HLXU5604366        7166540   12/10/18   01/24/19    1799.00    1799.00    1799.00    60
HLXU1251002        7166541   12/10/18   01/24/19    2332.20    2332.20    2332.20    60
GESU2843821        7166542   12/10/18   01/24/19     881.00     881.00     881.00    60
FCIU6488320        7167120   12/11/18   01/25/19    1712.20    1712.20    1712.20    59
FCIU6488572        7167121   12/11/18   01/25/19    1712.20    1712.20    1712.20    59
UACU5699217        7167267   12/12/18   01/26/19     881.00     881.00     881.00    58
UACU5939534        7167268   12/12/18   01/26/19     881.00     881.00     881.00    58
UACU5168709        7167269   12/12/18   01/26/19     881.00     881.00     881.00    58
FCIU2661484        7167270   12/12/18   01/26/19    1712.20    1712.20    1712.20    58
TRLU8799647        7167445   12/12/18   01/26/19     881.00     881.00     881.00    58
HAMU1009250        7167459   12/12/18   01/26/19    1812.20    1812.20    1812.20    58
FCIU6321950        7167460   12/12/18   01/26/19     856.00     856.00     856.00    58
UAEU1254128        7167619   12/13/18   01/27/19    1906.80    1906.80    1906.80    57
UACU8504509        7167620   12/13/18   01/27/19    1501.00    1501.00    1501.00    57
TCLU4141828        7167621   12/13/18   01/27/19    1783.20    1783.20    1783.20    57
FSCU4466850        7167622   12/13/18   01/27/19    1783.20    1783.20    1783.20    57
HLBU1138318        7167623   12/13/18   01/27/19    1783.20    1783.20    1783.20    57
UACU3481252        7167624   12/13/18   01/27/19    1812.20    1812.20    1812.20    57
TCLU9182687        7167826   12/13/18   01/27/19    1179.00    1179.00    1179.00    57
FSCU4807936        7167827   12/13/18   01/27/19    1179.00    1179.00    1179.00    57
UACU8347610        7167832   12/13/18   01/27/19    2206.80    2206.80    2206.80    57
HLBU1630570        7167952   12/14/18   01/28/19    1836.20    1836.20    1836.20    56
HLBU9263065        7168726   12/18/18   02/01/19    1906.80    1906.80    1906.80    52
UACU8378118        7168729   12/18/18   02/01/19    1179.00    1179.00    1179.00    52
UACU8587123        7168730   12/18/18   02/01/19    1179.00    1179.00    1179.00    52
HLXU3117728        7168972   12/19/18   02/02/19    2208.20    2208.20    2208.20    51
TGBU5803443        7168973   12/19/18   02/02/19    1712.20    1712.20    1712.20    51
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PAGE:   8                LINCOLN TRANSPORTATION SERVICES
                         250 W. MANVILLE ST., COMPTON, CA 90220
                          TEL:(310)609-1104 FAX:(310)609-1190

                                    S T A T E M E N T                                 03/25/19
                                  CLOSING DATE: 03/25/19

                              FOR: HAPAG LLOYD (AMERICA)INC.
 REFERENCE NO.      INV NO   INV DATE   DUE DATE   INV AMT    BALANCE   OVER DUE   DAY
===============    =======   ========   ======== ========== ========== ========== =====
UACU8354899        7169124   12/19/18   02/02/19    1179.00    1179.00    1179.00    51
HLBU1269853        7169125   12/19/18   02/02/19    1179.00    1179.00    1179.00    51
UACU3580656        7169126   12/19/18   02/02/19    2332.20    2332.20    2332.20    51
TCKU4501763        7169319   12/20/18   02/03/19    1076.00    1076.00    1076.00    50
TCLU4478362        7169320   12/20/18   02/03/19    1960.20    1960.20    1960.20    50
UACU8354899        7169412   12/20/18   02/03/19     881.00     881.00     881.00    50
UACU8587123        7169413   12/20/18   02/03/19     881.00     881.00     881.00    50
HLBU1227930        7169559   12/20/18   02/03/19    2094.00    2094.00    2094.00    50
TEMU7532947        7169680   12/21/18   02/04/19    1179.00    1179.00    1179.00    49
TCLU5534769        7169682   12/21/18   02/04/19    1179.00    1179.00    1179.00    49
HAMU1007302        7170085   12/26/18   02/09/19    2233.68    2233.68    2233.68    44
GESU3291769        7170086   12/26/18   02/09/19    2233.68    2233.68    2233.68    44
HLBU1236063        7170087   12/26/18   02/09/19    2233.68    2233.68    2233.68    44
UACU5209813        7170512   12/27/18   02/10/19    1699.40    1699.40    1699.40    43
GESU4365716        7170513   12/27/18   02/10/19    1699.40    1699.40    1699.40    43
FSCU6875014        7170514   12/27/18   02/10/19    1699.40    1699.40    1699.40    43
UACU5253550        7170515   12/27/18   02/10/19    1699.40    1699.40    1699.40    43
HLBU1434937        7170516   12/27/18   02/10/19    1699.40    1699.40    1699.40    43
TGHU6233476        7170517   12/27/18   02/10/19    1699.40    1699.40    1699.40    43
HLXU5651650        7170518   12/27/18   02/10/19    1712.20    1712.20    1712.20    43
HLXU5643758        7170519   12/27/18   02/10/19    1712.20    1712.20    1712.20    43
UACU4419857        7170520   12/27/18   02/10/19    1712.20    1712.20    1712.20    43
HLXU5636044        7170521   12/27/18   02/10/19    1712.20    1712.20    1712.20    43
TCLU4118598        7171384   01/02/19   02/16/19    2332.20    2332.20    2332.20    37
CAIU6044970        7171461   01/02/19   02/16/19    2332.20    2332.20    2332.20    37
HLXU8485635        7171463   01/02/19   02/16/19    1265.80    1265.80    1265.80    37
HLXU1238778        7171928   01/04/19   02/18/19    1761.80    1761.80    1761.80    35
CAIU8187775        7171931   01/04/19   02/18/19    1960.20    1960.20    1960.20    35
TCLU4478280        7172227   01/08/19   02/22/19    1799.00    1799.00    1799.00    31
HLXU8133357        7172230   01/08/19   02/22/19    1945.40    1945.40    1945.40    31
HLBU2078759        7172231   01/08/19   02/22/19    1945.40    1945.40    1945.40    31
HLXU8451091        7172240   01/08/19   02/22/19    1379.00    1379.00    1379.00    31
TCLU5098310        7172249   01/08/19   02/22/19    1712.20    1712.20    1712.20    31
HLXU8353599        7172250   01/08/19   02/22/19    1712.20    1712.20    1712.20    31
HLBU1418480        7172252   01/08/19   02/22/19    1712.20    1712.20    1712.20    31
UACU5443694        7172253   01/08/19   02/22/19    1712.20    1712.20    1712.20    31
TCNU3760023        7172254   01/08/19   02/22/19    1712.20    1712.20    1712.20    31
BMOU4230739        7172255   01/08/19   02/22/19    1712.20    1712.20    1712.20    31
HLXU3227710        7172536   01/08/19   02/22/19    1812.20    1812.20    1812.20    31
FCIU3372167        7172538   01/08/19   02/22/19    1712.20    1712.20    1712.20    31
FBIU0487725        7172540   01/08/19   02/22/19    1712.20    1712.20    1712.20    31
UACU8388409        7172761   01/09/19   02/23/19    1374.00    1374.00    1374.00    30
TTNU5352867        7172763   01/09/19   02/23/19    1179.00    1179.00    1179.00    30
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PAGE:   9                LINCOLN TRANSPORTATION SERVICES
                         250 W. MANVILLE ST., COMPTON, CA 90220
                          TEL:(310)609-1104 FAX:(310)609-1190

                                    S T A T E M E N T                                 03/25/19
                                  CLOSING DATE: 03/25/19

                              FOR: HAPAG LLOYD (AMERICA)INC.
 REFERENCE NO.      INV NO   INV DATE   DUE DATE   INV AMT    BALANCE   OVER DUE   DAY
===============    =======   ========   ======== ========== ========== ========== =====
UACU5914937        7172764   01/09/19   02/23/19    1956.80     496.00     496.00    30
UACU5887620        7172765   01/09/19   02/23/19    1956.80     496.00     496.00    30
HAMU1153204        7172766   01/09/19   02/23/19    1956.80     496.00     496.00    30
CAIU9149260        7172767   01/09/19   02/23/19    1956.80     496.00     496.00    30
FSCU9523038        7172768   01/09/19   02/23/19    1956.80     496.00     496.00    30
FDCU0194992        7172790   01/09/19   02/23/19    1836.20    1836.20    1836.20    30
TCNU6019499        7172791   01/09/19   02/23/19    1179.00    1179.00    1179.00    30
FCIU9105430        7172794   01/09/19   02/23/19    2208.20    2208.20    2208.20    30
FSCU7186494        7172795   01/09/19   02/23/19    1836.20    1836.20    1836.20    30
GESU4577715        7172800   01/09/19   02/23/19    1699.40    1699.40    1699.40    30
UACU5667565        7172801   01/09/19   02/23/19    1699.40    1699.40    1699.40    30
FDCU0005928        7172802   01/09/19   02/23/19    1699.40    1699.40    1699.40    30
UACU5753344        7172803   01/09/19   02/23/19    1699.40    1699.40    1699.40    30
GVCU4059534        7172805   01/09/19   02/23/19    1179.00    1179.00    1179.00    30
CAIU4070646        7172809   01/09/19   02/23/19    1179.00    1179.00    1179.00    30
HLXU3335910        7172810   01/09/19   02/23/19    1179.00    1179.00    1179.00    30
HLXU5378504        7173267   01/10/19   02/24/19    2314.40     369.00     369.00    29
HLXU1379652        7173702   01/11/19   02/25/19    1861.80    1861.80    1861.80    28
UACU3500239        7173964   01/11/19   02/25/19    2332.20    2332.20    2332.20    28
TCNU9422975        7174327   01/15/19   03/01/19     881.00     881.00     881.00    24
TCKU1755980        7174614   01/16/19   03/02/19    1956.80    1956.80    1956.80    23
HLBU8032760        7174615   01/16/19   03/02/19    1699.40    1699.40    1699.40    23
HLXU6659173        7174616   01/16/19   03/02/19    1699.40    1699.40    1699.40    23
HLXU6660317        7174617   01/16/19   03/02/19    1699.40    1699.40    1699.40    23
UACU3899561        7174891   01/16/19   03/02/19    2045.40    2045.40    2045.40    23
HLXU3379570        7175578   01/21/19   03/07/19    2208.20    2208.20    2208.20    18
UACU3899561        7175579   01/21/19   03/07/19    1141.40    1141.40    1141.40    18
TCLU4274158        7175580   01/21/19   03/07/19     881.00     881.00     881.00    18
CLHU3923765        7175581   01/21/19   03/07/19    1799.40    1799.40    1799.40    18
HLXU8485635        7175582   01/21/19   03/07/19     856.00     856.00     856.00    18
GESU6300838        7175937   01/21/19   03/07/19    1179.00    1179.00    1179.00    18
HLXU5657303        7175943   01/22/19   03/08/19    1712.00    1712.00    1712.00    17
FCIU2187539        7175944   01/22/19   03/08/19     881.00     881.00     881.00    17
UACU5384354        7175945   01/22/19   03/08/19    1930.60    1930.60    1930.60    17
UACU5091762        7175946   01/22/19   03/08/19    1930.60    1930.60    1930.60    17
CAIU4070646        7176291   01/22/19   03/08/19    1478.00    1478.00    1478.00    17
GVCU4059534        7176292   01/22/19   03/08/19    1478.00    1478.00    1478.00    17
TCKU1755980        7176348   01/23/19   03/09/19     881.00     881.00     881.00    16
HLXU3335910        7176349   01/23/19   03/09/19     881.00     881.00     881.00    16
TCNU8091091        7176350   01/23/19   03/09/19    1699.40    1699.40    1699.40    16
TEMU4440940        7176605   01/23/19   03/09/19    1930.60    1930.60    1930.60    16
UACU4742237        7176606   01/23/19   03/09/19    1686.60    1686.60    1686.60    16
HLXU8107954        7176683   01/24/19   03/10/19     881.00     881.00     881.00    15
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PAGE: 10                LINCOLN TRANSPORTATION SERVICES
                        250 W. MANVILLE ST., COMPTON, CA 90220
                         TEL:(310)609-1104 FAX:(310)609-1190

                                   S T A T E M E N T                                 03/25/19
                                 CLOSING DATE: 03/25/19

                             FOR: HAPAG LLOYD (AMERICA)INC.
 REFERENCE NO.     INV NO   INV DATE   DUE DATE   INV AMT    BALANCE   OVER DUE   DAY
===============   =======   ========   ======== ========== ========== ========== =====
HLXU1379652       7176932   01/24/19   03/10/19    1081.00    1081.00    1081.00    15
FSCU4807936       7176933   01/24/19   03/10/19     881.00     881.00     881.00    15
GLDU7548168       7176934   01/24/19   03/10/19    1735.40    1735.40    1735.40    15
UACU8378648       7176935   01/24/19   03/10/19    1712.20    1712.20    1712.20    15
HJMU2136787       7176936   01/24/19   03/10/19    1748.60    1748.60    1748.60    15
SEGU9051395       7176979   01/25/19   03/11/19    1636.60    1636.60    1636.60    14
CAIU2240363       7176980   01/25/19   03/11/19    1837.00    1837.00    1837.00    14
SCZU7948859       7176982   01/25/19   03/11/19    1712.20    1712.20    1712.20    14
WWWU9801520       7177168   01/25/19   03/11/19    1785.50    1785.50    1785.50    14
TGHU9571013       7177241   01/28/19   03/14/19    1943.60    1943.60    1943.60    11
BMOU5496739       7177242   01/28/19   03/14/19    1451.60    1451.60    1451.60    11
SEGU5766282       7177243   01/28/19   03/14/19    1943.60    1943.60    1943.60    11
TCLU9968742       7177244   01/28/19   03/14/19    1943.60    1943.60    1943.60    11
TGCU0152975       7177245   01/28/19   03/14/19    1799.00    1799.00    1799.00    11
FCIU7498786       7177246   01/28/19   03/14/19    1712.20    1712.20    1712.20    11
HLBU9121564       7177247   01/28/19   03/14/19    1910.20    1910.20    1910.20    11
UACU5640055       7177248   01/28/19   03/14/19     881.00     881.00     881.00    11
FCIU2726250       7177249   01/28/19   03/14/19    2045.40    2045.40    2045.40    11
CAIU8516628       7177780   01/29/19   03/15/19    1712.20    1712.20    1712.20    10
UACU5266897       7177781   01/29/19   03/15/19    1881.80    1881.80    1881.80    10
TCNU9148421       7177798   01/29/19   03/15/19    1799.00    1799.00    1799.00    10
UACU6040076       7177799   01/29/19   03/15/19    1712.20    1712.20    1712.20    10
FCIU7492290       7177800   01/29/19   03/15/19    1799.00    1799.00    1799.00    10
FCIU7496063       7177801   01/29/19   03/15/19    1799.00    1799.00    1799.00    10
CAIU8921003       7177802   01/29/19   03/15/19    1761.80    1761.80    1761.80    10
DRYU9007821       7177803   01/29/19   03/15/19    1712.20    1712.20    1712.20    10
TCKU6029677       7177804   01/29/19   03/15/19    1881.80    1881.80    1881.80    10
HLBU1609721       7178014   01/30/19   03/16/19    2208.20    2208.20    2208.20      9
TGHU9618928       7178015   01/30/19   03/16/19    1761.80    1761.80    1761.80      9
TCNU9892285       7178016   01/30/19   03/16/19    1729.70    1729.70    1729.70      9
HLXU8357697       7178017   01/30/19   03/16/19    1729.70    1729.70    1729.70      9
FCIU7496823       7178018   01/30/19   03/16/19    1712.20    1712.20    1712.20      9
TTNU5352867       7178163   01/30/19   03/16/19     881.00     881.00     881.00      9
UACU5783354       7178257   01/30/19   03/16/19    1881.80    1881.80    1881.80      9
TCLU7592091       7178258   01/30/19   03/16/19    1712.20    1712.20    1712.20      9
HAMU1291380       7178259   01/30/19   03/16/19    1761.80    1761.80    1761.80      9
SLSU8026553       7178314   01/31/19   03/17/19    1712.20    1712.20    1712.20      8
CPSU6428004       7178374   01/31/19   03/17/19     868.00     868.00     868.00      8
WWWU9801520       7178375   01/31/19   03/17/19     868.00     868.00     868.00      8
UACU8388409       7178612   01/31/19   03/17/19     881.00     881.00     881.00      8
CPSU1796169       7178644   02/01/19   03/18/19    1712.20    1712.20    1712.20      7
HLXU5150772       7178794   02/01/19   03/18/19    1761.80    1761.80    1761.80      7
HLXU6377631       7178795   02/01/19   03/18/19    1712.20    1712.20    1712.20      7
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PAGE: 11                LINCOLN TRANSPORTATION SERVICES
                        250 W. MANVILLE ST., COMPTON, CA 90220
                         TEL:(310)609-1104 FAX:(310)609-1190

                                   S T A T E M E N T                                 03/25/19
                                 CLOSING DATE: 03/25/19

                             FOR: HAPAG LLOYD (AMERICA)INC.
 REFERENCE NO.     INV NO   INV DATE   DUE DATE   INV AMT    BALANCE   OVER DUE   DAY
===============   =======   ========   ======== ========== ========== ========== =====
HLXU3616310       7178973   02/04/19   03/21/19    2174.60    2174.60    2174.60      4
HLXU3465106       7179232   02/06/19   03/23/19    1699.40    1699.40    1699.40      2
HLXU9004821       7179611   02/06/19   03/23/19    1699.40    1699.40    1699.40      2
HLXU9008350       7179612   02/06/19   03/23/19    1699.40    1699.40    1699.40      2
HLBU1593712       7179613   02/06/19   03/23/19    1699.40    1699.40    1699.40      2
TRLU7129487       7179839   02/06/19   03/23/19    1699.40    1699.40    1699.40      2
HLBU8074112       7180052   02/07/19   03/24/19    1899.40    1899.40    1899.40      1
UACU3181070       7180328   02/08/19   03/25/19    1855.20    1855.20    1855.20
UACU3966844       7180329   02/08/19   03/25/19    1855.20    1855.20    1855.20
UACU3976544       7180638   02/11/19   03/28/19    1761.80    1761.80
BHCU4930966       7180639   02/11/19   03/28/19    2332.20    2332.20
FSCU9982166       7180640   02/11/19   03/28/19    1748.60    1748.60
UACU8429853       7180641   02/11/19   03/28/19    1712.20    1712.20
SEGU5444671       7180642   02/11/19   03/28/19    1699.40    1699.40
HAMU1218537       7180643   02/11/19   03/28/19    2401.40    2401.40
UACU5940978       7180705   02/12/19   03/29/19    2174.60    2174.60
GESU3866837       7181180   02/13/19   03/30/19    1812.20    1812.20
TEMU2206470       7181181   02/13/19   03/30/19    1712.20    1712.20
SEGU5467738       7181256   02/13/19   03/30/19    1960.20    1960.20
FCIU6314061       7181318   02/14/19   03/31/19    1799.40    1799.40
HLBU8055093       7182461   02/20/19   04/06/19    1686.60    1686.60
HLBU1718260       7182462   02/20/19   04/06/19    1712.20    1712.20
UACU8609367       7182641   02/20/19   04/06/19    2884.65    2884.65
UACU3930100       7182646   02/20/19   04/06/19    1848.60    1848.60
HLXU1084100       7182647   02/20/19   04/06/19    1848.60    1848.60
HLXU6554932       7182755   02/21/19   04/07/19    1712.20    1712.20
UACU3450740       7182756   02/21/19   04/07/19    1799.40    1799.40
HLBU1547255       7182903   02/21/19   04/07/19    1699.40    1699.40
TGCU2104071       7183187   02/22/19   04/08/19    1699.40    1699.40
FCIU8561250       7183188   02/22/19   04/08/19    1686.60    1686.60
HLXU8170279       7183189   02/22/19   04/08/19    1699.40    1699.40
HLXU8236709       7183190   02/22/19   04/08/19    1699.40    1699.40
UACU8343596       7183353   02/25/19   04/11/19    1699.40    1699.40
FCIU9157069       7183354   02/25/19   04/11/19    1699.40    1699.40
TEMU6948903       7183355   02/25/19   04/11/19    1930.60    1930.60
UACU5086283       7183356   02/25/19   04/11/19    1930.60    1930.60
CPSU1724528       7183357   02/25/19   04/11/19    1799.40    1799.40
TLLU2506695       7183358   02/25/19   04/11/19    1799.40    1799.40
HLXU5603694       7183725   02/27/19   04/13/19    1686.60    1686.60
CPSU1720142       7183726   02/27/19   04/13/19    1699.40    1699.40
FSCU9908071       7183993   02/28/19   04/14/19    1785.50    1785.50
CAIU8117504       7183994   02/28/19   04/14/19    1699.40    1699.40
HAMU1050021       7183995   02/28/19   04/14/19    1786.60    1786.60
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PAGE: 12                LINCOLN TRANSPORTATION SERVICES
                        250 W. MANVILLE ST., COMPTON, CA 90220
                         TEL:(310)609-1104 FAX:(310)609-1190

                                   S T A T E M E N T                                 03/25/19
                                 CLOSING DATE: 03/25/19

                             FOR: HAPAG LLOYD (AMERICA)INC.
 REFERENCE NO.     INV NO   INV DATE   DUE DATE   INV AMT    BALANCE   OVER DUE   DAY
===============   =======   ========   ======== ========== ========== ========== =====
SEGU5616024       7184400   03/01/19   04/15/19    1686.60    1686.60
TGHU9256768       7185109   03/05/19   04/19/19     544.95     544.95
UETU5406191       7185113   03/05/19   04/19/19     519.00     519.00
INKU6226722       7185464   03/07/19   04/21/19    1686.60    1686.60
HLXU6597195       7185465   03/07/19   04/21/19    1686.60    1686.60
GLDU5626678       7186909   03/15/19   04/29/19    1812.20    1812.20
TCNU7068203       7187651   03/21/19   05/05/19    1686.60    1686.60
HLBU1966061       7187652   03/21/19   05/05/19    1686.60    1686.60
HAMU1279110       7187653   03/21/19   05/05/19    1686.60    1686.60
HLBU2107693       7187654   03/21/19   05/05/19    1686.60    1686.60
HLXU5625184       7187655   03/21/19   05/05/19    1686.60    1686.60
DRYU9147021       7187721   03/21/19   05/05/19    1686.60    1686.60
HLXU8285658       7187722   03/21/19   05/05/19    1699.40    1699.40
UACU5662898       7187723   03/21/19   05/05/19    1686.60    1686.60
TLLU5947945       7187724   03/21/19   05/05/19    1686.60    1686.60
HLBU1604397       7187931   03/22/19   05/06/19    1686.60    1686.60
FSCU9952259       7187932   03/22/19   05/06/19    1686.60    1686.60
                                                ========== ========== ==========
                                                 810750.77 799801.97 710693.67




--------------------------------------------------------------------------------
|   INV AMT | BALANCE     | CURRENT    | 01 - 30    | 31 - 60    | OVER 60    |
|            |            |            |            |            |            |
| 810750.77 | 799801.97 |     92818.70 | 145689.90 | 114116.76 | 447176.61 |
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